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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

In re:

PRIORIA ROBOTICS, INC.,                              Chapter 7

               Debtor.                               CASE NO.: 18-10018-KKS
                                     /

                                 NOTICE OF APPEARANCE

         COMES NOW Scott Underwood of the law firm of BUCHANAN INGERSOLL &
ROONEY PC, and files this Notice of Appearance as counsel for CONDOR AERIAL, LLC
and hereby requests that copies of all future pleadings and notices that CONDOR AERIAL,
LLC is entitled to receive be sent to the undersigned:
                              SCOTT A. UNDERWOOD, ESQ.
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                                             Respectfully submitted,

                                             /s/ Scott A. Underwood
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                                             Florida Bar No. 0730041
                                             Linda J. Z. Young
                                             Florida Bar No: 093160
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                                             Attorneys for Condor Aerial, LLC
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and accurate copy of the foregoing, that was filed with

the Clerk of Court, has been furnished to those parties registered to receive service via CM/ECF

and by U.S. Mail to the following, on March 5, 2018:

Debtor
Prioria Robotics, Inc.
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                                             /s/ Scott A. Underwood
                                             Scott A. Underwood
                                             Florida Bar No. 0730041
4832-1783-1774, v. 1




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